                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA,                         )
                                                   )
               Plaintiff,                          )
                                                   )
 v.                                                )       No.:   3:12-CR-90-TAV-HBG
                                                   )
 DONA RECTOR,                                      )
                                                   )
               Defendant.                          )


                                           ORDER

        This criminal case is before the Court for consideration of the Report and

 Recommendation entered by United States Magistrate Judge H. Bruce Guyton, on April 30,

 2014 (the “R&R”) [Doc. 165]. There have been no timely objections to the R&R and enough

 time has passed since the filing of the R&R to treat any objections as having been waived.

 See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); Fed. R. Crim. P. 51. In the R&R, Magistrate

 Judge Guyton recommends that an order be entered denying the defendant’s Motion to

 Suppress Alleged Statements of Defendant Rector [Doc. 100] be denied.

        After a review of the R&R and the record in this case, the Court is in agreement with

 Magistrate Judge Guyton’s recommendation, which the Court adopts and incorporates into its

 ruling. Thus, the Court ACCEPTS IN WHOLE the R&R [Doc. 165] and it is ORDERED

 that the defendant’s motion to suppress [Doc. 100] is hereby DENIED.

         IT IS SO ORDERED.


                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE




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